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                        Exhibit A
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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION


    IN RE: DEALER MANAGEMENT                           MDL No. 2817
    SYSTEMS ANTITRUST LITIGATION                       Case No. 18-cv-00864

    This Document Relates To:                          Honorable Rebecca R. Pallmeyer

    THE DEALERSHIP CLASS ACTION


     SETTLEMENT AGREEMENT BETWEEN THE DEALERSHIP CLASS AND CDK

         This Settlement Agreement (“Agreement”) 1 is made and entered into on August 15, 2024

by and between the Dealership Class Plaintiffs, both individually and on behalf of the CDK

Settlement Class, and CDK Global, LLC (“CDK”), through their respective counsel. This

Agreement is intended by the Settling Parties to fully, finally, and forever resolve, discharge, and

settle the Dealership Released Claims and the CDK Released Claims, upon and subject to the terms

and conditions set forth in this Agreement and subject to the approval of the Court.

         WHEREAS, the Dealership Class Plaintiffs are prosecuting the Dealership Class Action

(“Action”) on their own behalf and on behalf of the Dealership Class against CDK; and

         WHEREAS, the Dealership Class Plaintiffs allege, among other things, that CDK and The

Reynolds and Reynolds Company (“Reynolds”) 2 unlawfully colluded to restrain and/or eliminate

competition by charging supracompetitive prices in the markets for Dealer Management System




1
  Unless otherwise noted, capitalized terms not immediately defined have the meanings set forth
in the Definitions section of this Agreement.

2 Reynolds settled the Action in 2019. See Settlement Agreement Between the Dealership Class

and Reynolds (ECF No. 427-2) (“Reynolds Settlement”); Final Approval Order and Judgment for
Settlement between the Dealership Class and Reynolds (ECF No. 502).
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(“DMS”) software services and Data Integration Services (“DIS”), in violation of Sections 1 and

2 of the Sherman Act and certain state antitrust and consumer protection laws; and

       WHEREAS, the Dealership Class Plaintiffs have conducted an investigation into the facts

and the law regarding the Action and have concluded that a settlement with CDK according to the

terms of this Agreement is fair, reasonable, and adequate, and beneficial to and in the best interests

of the Dealership Class Plaintiffs and the CDK Settlement Class; and

       WHEREAS, CDK denies Dealership Class Plaintiffs’ allegations and claims in the Action 3

and any wrongdoing or liability to Dealership Class Plaintiffs and members of the CDK Settlement

Class; and is entering in this Agreement for settlement purposes only and solely to avoid the

inconvenience, distraction and disruption of burdensome litigation and to reach certain and final

resolution with CDK’s customers, and to obtain the releases, orders, and judgment contemplated

by this Agreement, and to put to rest with finality all claims known or unknown asserted against

CDK based on the allegations of the Action, as more particularly set out below; and

       WHEREAS, Dealership Class Plaintiffs deny any allegations and counterclaims brought

by CDK against certain Dealership Class Plaintiffs in the Action 4 and deny any wrongdoing or

liability to CDK; and are entering in this Agreement for settlement purposes only and to avoid the

further expense, risk, inconvenience, distraction and disruption of burdensome litigation, and to

obtain the releases, orders and judgment contemplated by this Agreement, and to put to rest with

finality all claims known or unknown asserted against the Counterclaim Named Plaintiffs, as more

particularly set out below; and


3 Certain claims brought by Dealership Class Plaintiffs were dismissed by this Court on January

25, 2019 (ECF 507) and June 29, 2023 (ECF No. 1382).
4
 All Counterclaims brought by CDK were dismissed by this Court on September 3, 2019 (ECF
No. 749) and June 29, 2023 (ECF No. 1382).


                                                  2
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       WHEREAS, Dealership Class Lead Counsel and CDK’s Counsel have engaged in arm’s-

length settlement negotiations;

       NOW, THEREFORE, in consideration of the covenants, agreements, and releases set forth

herein and for other good and valuable consideration, it is agreed by and among the undersigned

that the Action be settled, compromised and dismissed on the merits with prejudice as to CDK

and, except as provided by this Agreement, without costs to the Dealership Class Plaintiffs, the

CDK Settlement Class, or CDK, subject to the approval of the Court, following Notice to the CDK

Settlement Class, on the following terms and conditions:

       A.      Definitions

                    1.         These terms, as used in this Agreement, have the following meanings:

                         (a)      “Action” means The Dealership Class Action, In Re Dealer

Management Systems Antitrust Litigation, MDL No. 2817, 18-cv-00864 (N.D. Ill.).

                         (b)      “CDK Released Claims” means any and all claims and causes of

action (whether class, representative, individual or otherwise), existing as of or prior to the

Effective Date, whether asserted or unasserted, known or unknown, suspected or unsuspected,

foreseen or unforeseen, actual or contingent, liquidated or unliquidated, against the Counterclaim

Named Plaintiffs that (i) CDK Releasors asserted against the Counterclaim Named Plaintiffs in

MDL Litigation 2817; or (ii) that arise out of the facts asserted in CDK’s counterclaims against

the Counterclaim Named Plaintiffs for (a) breach of contract due to any provision of login

credentials to Authenticom, Inc. and/or other third parties to enable those third parties to access

CDK’s DMS, (b) violation of the Computer Fraud and Abuse Act, 18 U.S.C. § 1030 et seq., and

(c) violation of the Digital Millennium Copyright Act, 17 U.S.C. § 1201 et seq., including claims

for damages (whether actual, punitive, treble, compensatory, or otherwise), costs, fees, expenses,

penalties, and attorneys’ fees.
                                                   3
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                        (c)     “CDK Releasees” and “CDK Releasors” mean CDK, and all of their

respective current and former, direct and indirect parents, owners, subsidiaries, affiliates, divisions,

predecessors, successors, assigns, insurers, and shareholders; and all respective current and former

officers, directors, principals, partners, members, heirs, attorneys, representatives, agents, and

employees of each of the foregoing entities.

                        (d)     “CDK Settlement Class,” for purposes of settlement only, means all

persons and entities located in the United States engaged in the business of the retail sale of

automobiles who purchased DMS from CDK and/or Reynolds (“Defendants”), or any predecessor,

successor, subsidiary, joint venture or affiliate, during the period from September 1, 2013 through

August 15, 2024 (“CDK Settlement Class Period”). Excluded from the CDK Settlement Class are

Defendants, including any entity or division in which any Defendant has a controlling interest, as

well as Defendants’ joint ventures, subsidiaries, affiliates, assigns, and successors. Subject to Court

approval, the parties agree that the CDK Settlement Class shall be certified pursuant to Rules 23(a)

and 23(b)(3) of the Federal Rules of Civil Procedure for settlement purposes only as to CDK.

                        (e)     “CDK Settlement Class Member” means each member of the CDK

Settlement Class who does not timely elect to be excluded from the Dealership Settlement Class.

                        (f)     “CDK Settlement Class Period” means the period from September

1, 2013 through the Effective Date which is defined as August 15, 2024.

                        (g)     “Counsel for CDK” refers to the law firm of Kirkland & Ellis LLP.

                        (h)     “Counterclaim Named Plaintiffs” are those named counter-

defendants in CDK’s counterclaims (ECF No. 522): (1) ACA Motors, Inc. d/b/a Continental

Acura; (2) Baystate Ford Inc.; (3) Cherry Hill Jaguar; (4) Cliff Harris Ford, LLC d/b/a

Warrensburg Ford; (5) Continental Autos, Inc. d/b/a/ Continental Toyota; (6) Continental Classic



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Motors, Inc. d/b/a Continental Autosports; (7) 5800 Countryside, LLC d/b/a/ Continental

Mitsubishi; (8) HDA Motors, Inc. d/b/a Continental Honda; (9) H & H Continental Motors, Inc.

d/b/a Continental Nissan; (10) JCF Autos LLC d/b/a Stevens Jersey City Ford; (11) Jericho

Turnpike Sales LLC d/b/a Ford & Lincoln of Smithtown; (12) Marshall Chrysler Jeep Dodge, LLC

d/b/a Marshall Chrysler Jeep Dodge Ram; (13) Naperville Zoom Cars, Inc. d/b/a/ Continental

Mazda; (14) NV Autos, Inc. d/b/a Continental Audi; (15) Patchogue 112 Motors LLC d/b/a

Stevens Ford; (16) Waconia Dodge, Inc. d/b/a Waconia Dodge; and (17) Warrensburg Chrysler

Dodge Jeep, L.L.C. d/b/a Warrensburg Chrysler Dodge Jeep Ram Fiat. Counterclaim Named

Plaintiffs, and all of their current and former, direct and indirect parents, owners, subsidiaries,

affiliates, divisions, predecessors, successors, assigns, insurers, and shareholders, and all

respective current and former officers, directors, principals, partners, members, heirs, attorneys,

representatives, agents, and employees of each of the foregoing entities are collectively referred to

as “Plaintiff Releasees.”

                       (i)     “Dealership Class Counsel” means the law firms of Milberg

Coleman Bryson Phillips Grossman, PLLC (“Milberg”); Bellavia Blatt, P.C.; Gustafson Gluek

PLLC; Robbins Geller Rudman & Dowd LLP; and Clifford Law Offices, P.C.

                       (j)     “Dealership Class Lead Counsel” means Milberg.

                       (k)     “Dealership Class Plaintiffs” means each of the named plaintiffs in

the Consolidated Class Action Complaint (ECF No. 184) (the “Complaint”): (1) ACA Motors, Inc.

d/b/a Continental Acura; (2) Baystate Ford Inc.; (3) Cherry Hill Jaguar; (4) Cliff Harris Ford, LLC

d/b/a Warrensburg Ford; (5) Continental Autos, Inc. d/b/a/ Continental Toyota; (6) Continental

Classic Motors, Inc. d/b/a Continental Autosports; (7) 5800 Countryside, LLC d/b/a/ Continental

Mitsubishi; (8) HDA Motors, Inc. d/b/a Continental Honda; (9) H & H Continental Motors, Inc.



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d/b/a Continental Nissan; (10) Gregoris Motors, Inc.; (11) Hoover Automotive, LLC d/b/a Hoover

Dodge Chrysler Jeep of Summerville; (12) JCF Autos LLC d/b/a Stevens Jersey City Ford; (13)

Jericho Turnpike Sales LLC d/b/a Ford & Lincoln of Smithtown; (14) Jim Marsh American

Corporation d/b/a Jim Marsh Mitsubishi Suzuki Kia Mahindra; (15) John O’Neil Johnson Toyota,

LLC; (16) Kenny Thomas Enterprises, Inc. d/b/a Olathe Toyota; (17) Marshall Chrysler Jeep

Dodge, LLC d/b/a Marshall Chrysler Jeep Dodge Ram; (18) Naperville Zoom Cars, Inc. d/b/a/

Continental Mazda; (19) NV Autos, Inc. d/b/a Continental Audi; (20) Patchogue 112 Motors LLC

d/b/a Stevens Ford; (21) Pitre Imports, LLC d/b/a Pitre Kia; (22) Pitre, Inc. d/b/a Pitre Buick GMC;

(23) Teterboro Automall, Inc. d/b/a Teterboro Chrysler Dodge Jeep Ram; (24) Waconia Dodge,

Inc. d/b/a Waconia Dodge; and (25) Warrensburg Chrysler Dodge Jeep, L.L.C. d/b/a Warrensburg

Chrysler Dodge Jeep Ram Fiat; as well as additional class representatives added in the Motion for

Class Certification (ECF No. 1424): (1) Henry Brown Buick GMC, LLC d/b/a Henry Brown Buick

GMC; (2) Tony Automotive Group LLC d/b/a (i) Tony Volkswagen; (ii) Tony Hyundai; (iii)

Genesis of Waipio; and (iv) Tony Hyundai Honolulu; (3) Tony Hawaii LLC d/b/a Tony Honda;

(4) Pacific Nissan LLC d/b/a Tony Nissan; (5) Tony Hawaii Hilo LLC d/b/a Tony Honda Hilo; (6)

Tony Hawaii Kona LLC d/b/a Tony Honda Kona; (7) GSM Auto Group, LLC d/b/a Infiniti

Mission Viejo; (8) GSM Auto Group II, LLC d/b/a Audi Mission Viejo; (9) GSM Auto Group III,

LLC d/b/a Volvo Cars Mission Viejo; (10) Sandy Sansing Chevrolet, Inc. d/b/a Sandy Sansing

Chevrolet Pensacola; (11) Duteau Chevrolet Co. d/b/a DuTeau Chevrolet; (12) Landmark Ford;

(13) Automaster BMW; (14) Automaster Honda; (15) Automaster Mercedes-Benz; (16) Mini of

Burlington; (17) L&S Motors of Beckley, Inc. d/b/a L&S Toyota of Beckley; (18) Toyota of Ann

Arbor; and (19) Rochester Hills Chrysler Jeep Dodge Ram.




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                       (l)    “Dealership Released Claims” means any and all claims and causes

of action (whether class, representative, individual or otherwise), existing as of or prior to the

Effective Date whether asserted or unasserted, known or unknown, suspected or unsuspected,

foreseen or unforeseen, actual or contingent, liquidated or unliquidated, that CDK Settlement Class

members (“CDK Settlement Class Releasors”) have against CDK Releasees (i) that were asserted

in Dealership Class Plaintiffs’ complaints previously filed in MDL Litigation 2817 (including the

Complaint), or (ii) that arise out of or relate to the facts, agreements, conspiracies,

communications, or announcements alleged in such complaints under any antitrust, unjust

enrichment, unfair competition, unfair practices, trade practices, price discrimination, unitary

pricing, racketeering, contract, civil conspiracy or consumer protection law, whether under federal,

state, local or foreign law, including claims for damages (whether actual, punitive, treble,

compensatory, or otherwise), costs, fees, expenses, penalties, and attorneys’ fees; provided,

however, that nothing herein shall release any claim involving any negligence, personal injury,

breach of contract, bailment, failure to deliver lost goods, damaged or delayed goods, product

defect, securities, or other claims relating to CDK’s DMS. For clarity, Dealership Released Claims

do not include any and all claims, demands, and causes of action that CDK Settlement Class

Releasors have against CDK Releasees, whether known or unknown, foreseen or unforeseen,

suspected or unsuspected, actual or contingent, liquidated or unliquidated, that relate in any way

to any data breach, cyberattack, or cybersecurity incident, including but not limited to any data

breach, cyberattack, and/or security incident publicly reported in June 2024 involving CDK’s

DMS.

                       (m)    “Defendants” means CDK and Reynolds.




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                       (n)     “DIS” or “Data Integration Services,” for purposes of this

Agreement only, means the programs and services for extracting, formatting, integrating, and/or

organizing data from DMSs.

                       (o)     “DMS,” for purposes of this Agreement only, means Dealer

Management System, which is an enterprise software system and computing platform designed

for automobile dealers.

                       (p)     “Effective Date” shall mean the Execution Date of this Agreement.

                       (q)     “Escrow Account” means the separate escrow account at a banking

institution into which the Settlement Consideration will be deposited for the benefit of the

Dealership Settlement Class.

                       (r)     “Escrow Agent” means the Settlement Administrator.

                       (s)     “Execution Date” means the date of the last signature on the

signature pages set forth below. On the Execution Date, the Dealership Class Plaintiffs and CDK

are bound by the terms of this Agreement, and this Agreement shall not be rescinded except in

accordance with their Rescission Rights, including CDK’s Opt-Out Termination Right.

                       (t)     “Fee and Expense Order” means an order by the Court approving

the request for an award of attorneys’ fees and litigation expenses and class representative awards.

                       (u)     “Final,” with respect to the Final Approval Order and Judgment or

an alternative judgment, means: (a) if no appeal is filed, the expiration date of the time for filing

or noticing of any appeal from the Court’s Judgment approving the Settlement; i.e., thirty (30)

calendar days after entry of the Judgment; or (b) if there is an appeal, the date of final dismissal of

any appeal from the Judgment, or the final dismissal of any proceeding on certiorari to review the

Judgment; or (c) the date of final affirmance on an appeal of the Judgment, the expiration of the



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time to file a petition for a writ of certiorari, or the denial of a writ of certiorari to review the

Judgment, and, if certiorari is granted, the date of final affirmance of the Judgment following

review under that grant. It is agreed that neither the provisions of Rule 60 of the Federal Rules of

Civil Procedure nor the All Writs Act, 28 U.S.C. §1651, shall be taken into account in determining

the above-stated times. Any proceeding or order, or any appeal or petition for a writ of certiorari

pertaining solely to any distribution plan and/or application for attorneys’ fees, class representative

service awards, costs, or expenses, shall not delay or preclude the Judgment from becoming Final.

                       (v)     “Final Approval Order and Judgment” means the order and final

judgment to be entered by the Court approving the Agreement, as approved by the Settling Parties

and substantially in the form submitted with the Motion for Preliminary Approval.

                       (w)     “MDL” means the multidistrict litigation, In Re Dealer

Management Systems Antitrust Litigation, MDL No. 2817 (N.D. Ill.).

                       (x)     “Notice” means the forms of notice as approved by the Settling

Parties and submitted with the Motion for Preliminary Approval, including the email, mail,

publication, digital, and long form notices, and information release to be disseminated by the

Settlement Administrator to the CDK Settlement Class.

                       (y)     “Notice and Claims Costs” means actual class notice and claims

administration costs up to a maximum limit of two hundred and fifty thousand dollars ($250,000)

in U.S. dollars.

                       (z)     “Opt-Out Deadline” means the deadline for a Class Member to

submit a Request for Exclusion as set forth in the Preliminary Approval Order and which will be

no more than 45 days from Notice sent to Dealership Settlement Class Members about this

Agreement.



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                      (aa)     “Preliminary Approval Order” means the proposed order

preliminarily approving the Agreement and directing Notice to the CDK Settlement Class as

approved by the Settling Parties and substantially in the form submitted to the Court with the

Motion for Preliminary Approval.

                      (bb)     “Released Claims” means the Dealership Released Claims and the

CDK Released Claims.

                      (cc)     “Request for Exclusion” means the letter that must be written,

completed with all information required, signed under penalty of perjury and returned in the

manner and within the time frame specified in this Agreement for a CDK Settlement Class Member

to request exclusion from the Class.

                      (dd)     “Settlement” means the settlement contemplated by this Agreement.

                      (ee)     “Settlement Administrator” means the firm of Epiq Class Action &

Claims Solutions, Inc., which shall administer the Settlement, subject to the Court’s approval.

                      (ff)     “Settlement Consideration” means one hundred million dollars

($100,000,000) in U.S. dollars.

                      (gg)     “Settlement Fund” means the funds in the Escrow Account,

including the Settlement Consideration and Notice and Claims Costs, and any interest accrued

thereon. The Settlement Fund does not include monies paid by Reynolds in connection with the

Reynolds Settlement, nor any interest earned on the Reynolds settlement, nor any expenses paid

from the Reynolds settlement amount as authorized by the Court.

                      (hh)     “Settling Parties” means the Dealership Class Plaintiffs and CDK.

       B.      Approval of this Agreement, Notice, and Dismissal of Claims Against CDK

               2.            Reasonable Best Efforts to Effectuate this Settlement. The Dealership

Class Plaintiffs and CDK will use their best efforts to effectuate this Agreement, including
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cooperating in seeking Court approval of the Settlement and securing both the Court’s certification

of the CDK Settlement Class and the Court’s approval of procedures (including issuing class notice

under Federal Rules of Civil Procedure 23(c) and (e)) to secure the complete and Final dismissal

with prejudice of the Action as to CDK. The parties shall use their best efforts to stay litigation of

the Released Claims of CDK Settlement Class Members pending the Final Approval Order and

Judgment.

               3.           Motion for Preliminary Approval. On August 16, 2024, Class Counsel

will submit a motion for preliminary approval of the Settlement by the Court and for authorization

to disseminate Notice to the CDK Settlement Class.

               4.           Notice to the CDK Settlement Class. As ordered by the Court in the

Preliminary Approval Order, consistent with the requirements of Rule 23 of the Federal Rules of

Civil Procedure and due process, Notice shall be disseminated to the CDK Settlement Class, which

shall be provided with the opportunity to request to be excluded from the CDK Settlement Class

and the opportunity to object to the Settlement, or any attorneys’ fees, costs and expenses,

distribution plan, or class representative service award 5 sought by Dealership Class Counsel. On

the timetable and in the manner set by the Court in the Preliminary Approval Order, the Settlement

Administrator shall disseminate Notice to the CDK Settlement Class. CDK will provide reasonable

assistance with Notice to CDK Settlement Class members, including by providing, for Notice

purposes only, email and mailing addresses for current CDK dealers and mailing addresses for

prior CDK dealers from 2013 to present, that are presently available and accessible in CDK’s

records.




5 Class representatives are listed in Paragraph A.1.(k).


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               5.          Motion for Final Approval and Entry of Final Judgment. Prior to the

date set by the Court to consider whether this Settlement should be finally approved, Dealership

Class Counsel will submit a motion for final approval of the Settlement by the Court. The Settling

Parties shall jointly seek entry of a Final Approval Order and Judgment, substantially in the form

submitted with the Motion for Preliminary Approval.

       C.      Releases, Discharge, and Covenants Not to Sue

               6.          Release of Claims Against CDK Releasees. Upon entry of the Final

Approval Order and Judgment, CDK Settlement Class Releasors release Dealership Released

Claims against each CDK Releasee, irrespective of whether any such claim has been asserted

against such releasee.

               7.          Release of Claims Against Plaintiff Releasees. Upon entry of the Final

Approval Order and Judgment, CDK Releasors release CDK Released Claims against each

Plaintiff Releasee, irrespective of whether any such claim has been asserted against such releasee.

               8.          No Future Actions Following Releases. CDK Settlement Class

Releasors and CDK Releasors covenant and agree that they will not, after the Effective Date, seek

to recover from any releasee on account of the claims released by such releasors.

               9.          Covenant Not to Sue. CDK Settlement Class Releasors and CDK

Releasors hereby covenant not to sue CDK Releasees and Plaintiff Releasees, respectively, with

respect to any Released Claims. Dealership Settlement Class Releasors and CDK Releasors shall

be permanently barred and enjoined from instituting, commencing, or prosecuting against the CDK

Releasees and Plaintiff Releasees, respectively, any claims based in whole or in part on the

Released Claims. The Settling Parties contemplate and agree that this Agreement may be pleaded

as a bar to a lawsuit, and an injunction may be obtained, preventing any action from being initiated



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or maintained in any case sought to be prosecuted by or on behalf of any Dealership Class Releasor

or CDK Releasor with respect to the Released Claims.

                10.          Waiver of California Civil Code § 1542 and Similar Laws. CDK

Settlement Class Releasors and CDK Releasors expressly waive, upon Final Approval of the

Agreement, any and all provisions, rights and benefits conferred by (i) Section 1542 of the

California Civil Code, which provides, “A general release does not extend to claims that the

creditor or releasing party does not know or suspect to exist in his or her favor at the time of

executing the release and that, if known by him or her, would have materially affected his or her

settlement with the debtor or released party.”); or (ii) any law of any state or territory of the United

States, or principle of common law that is similar, or equivalent to Section 1542 of the California

Civil Code.

        D.      Motion Practice

                11.          After the Effective Date, neither CDK nor Dealership Class Plaintiffs

shall file any further motions against the other. In the event this Settlement does not become Final,

both CDK and Dealership Class Plaintiffs shall retain the right to reinstate and pursue any motions

that were previously stayed or taken off calendar.

       E.       Payments

                12.          Settlement Consideration. CDK shall pay or cause to be paid the

Settlement Consideration. CDK’s sole monetary obligation under the Settlement shall be for CDK

to pay the Settlement Consideration, and CDK shall not be obligated to pay any other amounts

(except for the Notice and Claims Costs). Dealership Class Lead Counsel will establish an Escrow

Account. CDK shall fund the Settlement Consideration into the Escrow Account no later than

thirty (30) days after the Court’s preliminary approval of the settlement. All interest on the funds

in the Escrow Account shall accrue to the benefit of the CDK Settlement Class. There shall be no

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disbursements from the Escrow Account with the exception of Notice and Claims Costs unless

and until the Court enters the Final Approval Order and Judgment.

               13.          Notice and Claims Costs. In addition to the Settlement Consideration,

CDK agrees to pay Notice and Claims Costs. The Notice and Claims Costs shall be paid into the

Escrow Account no later than thirty (30) days after the Court’s preliminary approval of the

settlement. All interest on the funds in the Escrow Account shall accrue to the benefit of the CDK

Settlement Class.

       F.      Settlement Fund

               14.          Settlement Fund. Dealership Class Lead Counsel will provide

complete and accurate payment instructions and a W-9 for payment of the Settlement

Consideration and Notice and Claims Costs into the Escrow Account.

                      (a)     Escrow Account. All funds required to be held in escrow for the

purposes of this Settlement shall be held by the Escrow Agent. All funds required to be held in the

Escrow Account are deemed to be in the custody of the Court and will remain subject to the

jurisdiction of the Court until the funds are distributed pursuant to this Agreement and/or further

order of the Court.

                      (b)     The Escrow Agent or any independent entity designated by the

Escrow Agent will invest any funds held in the Escrow Account in short-term United States

Agency or Treasury Securities (or a mutual fund invested solely in such instruments) or in a fully

US Government-insured account, and will collect and reinvest any interest accrued thereon, except

that any residual cash balances or funds needed for short-term placement up to the amount that is

insured by the FDIC may be deposited in any account that is fully insured by the FDIC and held

in cash.



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                       (c)     All risks related to the investment of the Settlement Fund shall be

borne solely by the Settlement Fund, and the CDK Releasees shall have no responsibility for,

interest in, or liability regarding investment decisions or the actions of the Escrow Agent, or any

transactions executed by the Escrow Agent.

                       (d)     The Settling Parties and their counsel shall treat, and shall cause the

Settlement Administrator or its designee to treat, the Settlement Fund as at all times a “qualified

settlement fund” within the meaning of Treas. Reg. § 1.468B-1. In addition, the Settlement

Administrator or its designee and, as required, the parties, shall timely make such elections as

necessary or advisable to carry out the provisions of this Paragraph, including the “relation-back

election” (as defined in Treas. Reg. § 1.468B-1(j)(2)) back to the earliest permitted date. Such

elections shall be made in compliance with the procedures and requirements in such regulations.

It shall be the responsibility of the Escrow Agent, the Settlement Administrator or its designee to

timely and properly prepare and deliver the necessary documentation for signature by all necessary

parties and thereafter to cause the appropriate filing to occur. All provisions of this Agreement

shall be interpreted consistent with the Settlement Fund being a “qualified settlement fund” within

the meaning of Treas. Reg. § 1.468B-1.

                       (e)     For the purpose of § 1.468B of the Internal Revenue Code of 1986,

as amended, and the regulations promulgated thereunder, the “Administrator” of the Settlement

Fund shall be the Escrow Agent, the Settlement Administrator or its designee, who shall timely

and properly file or cause to be filed, all tax returns necessary or advisable regarding the Settlement

Fund (including, without limitation, all income tax returns, all informational returns, and all returns

described in Treas. Reg. § 1.468B-2).




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                       (f)     The Escrow Agent or its designee will file all informational and

other tax returns necessary to report any taxable and/or net taxable income earned by the

Settlement Fund.

                       (g)     The Escrow Agent or any independent entity designated by the

Escrow Agent will pay out of the Settlement Fund: (i) all taxes (including any estimated taxes,

interest or penalties) arising with respect to the income earned by the Settlement Fund, including

any taxes or tax detriments that may be imposed upon CDK with respect to any income earned by

the Settlement Fund for any period during which the Settlement Fund does not qualify as a

qualified settlement fund for federal or state income tax purposes (“Taxes”); and (ii) all expenses

and costs incurred in connection with the operation and implementation of this Paragraph

(including, without limitation, expenses of tax attorneys and/or accountants and mailing and

distribution costs and expenses relating to filing (or failing to file) the returns described in this

Paragraph (“Tax Expenses”).

                       (h)     CDK Releasees shall have no liability or responsibility for the Taxes

or the Tax Expenses. Further, Taxes and Tax Expenses shall be treated as, and considered, a cost

of administration of the Settlement Fund and shall be timely paid by the Escrow Agent out of the

Settlement Fund without prior order from the Court and the Escrow Agent shall be obligated

(notwithstanding anything herein to the contrary) to withhold from distribution to any claimants

authorized by the Court any funds necessary to pay such amounts including the establishment of

adequate reserves for any Taxes and Tax Expenses (and any amounts that may be required to be

withheld under Treas. Reg. § 1.468B-2(l)(2)). The Settling Parties, through their counsel, agree to

cooperate with each other, and their tax attorneys and accountants to the extent reasonably

necessary to carry out the provisions of this Paragraph.



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        G.     Administration and Distribution of Net Settlement Fund

               15.          Net Settlement Fund. The Settlement Fund, net of any Taxes and Tax

Expenses shall be used to pay (i) any attorneys’ fees, litigation expenses and class representative

service awards approved by the Court; and (ii) any Court-approved administration expenses

involved in distributing funds to CDK Settlement Class Members. The balance of the Settlement

Fund after the above payments shall be the “Net Settlement Fund.” CDK Settlement Class

Releasors shall look solely to the Net Settlement Fund for settlement and satisfaction against the

CDK Releasees of all Released Claims and shall have no other recovery against CDK or any other

CDK Releasee for such Released Claims.

               16.          Distribution of Net Settlement Fund. Upon further orders of the Court,

the Settlement Administrator, subject to such supervision and direction of the Court and/or

Dealership Class Lead Counsel as may be necessary or as circumstances may require, will

distribute the Net Settlement Fund to CDK Settlement Class Members pursuant to a distribution

plan to be approved by the Court. Dealership Class Lead Counsel, either before or after final

settlement approval, shall propose to the Court a reasonable distribution plan for the Net Settlement

Fund designed to effectuate the Settlement and will require CDK Settlement Class Members to

submit claim forms and supporting documentation to the Settlement Administrator. In no event

shall any CDK Releasee have any responsibility, financial obligation, or liability whatsoever with

respect to the costs and expenses of such distribution and administration, with the sole exception

of the Notice and Claims Costs Paragraph. CDK’s Counsel shall have no involvement in reviewing

or challenging claim forms. CDK shall be dismissed from the Action prior to any distribution of

this Net Settlement Fund and shall have no involvement in the distribution of the Net Settlement

Fund.



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               17.          Distribution Plan. A distribution plan is not a necessary term of this

Agreement and it is not a condition of this Agreement that any particular distribution plan be

approved. A distribution plan will be considered by the Court separately from the Court’s

consideration of the fairness, reasonableness and adequacy of the Settlement in this Agreement,

and any order or proceedings relating to any distribution plan shall not operate to terminate or

cancel this Agreement or affect the finality of the Final Approval Order and Judgment, or any other

orders entered pursuant to this Agreement. The time to appeal from an approval of the Settlement

shall commence upon the Court’s entry of the Final Approval Order and Judgment or an alternative

judgment, regardless of whether either any distribution plan or application for attorneys’ fees and

expenses has been submitted to the Court or approved.

               18.          No Reversion. This is not a claims-made settlement. The Net

Settlement Fund shall be distributed to CDK Settlement Class Members pursuant to a Court-

approved distribution plan or as otherwise ordered by the Court. CDK shall not be entitled to the

return of any of the settlement monies except as set forth in the Status Quo Ante Paragraph below.

       H.      Dealership Class Counsel’s Attorneys’ Fees, Class Representative Service
               Awards and Reimbursement of Expenses

               19.          Fee and Expense Application. Subject to Court approval, Dealership

Class Lead Counsel may apply to the Court for an award of fees, reimbursement of expenses and

class representative service awards; provided, however, that (i) any fees, expenses and service

awards approved by the Court in respect of this Settlement shall be paid solely out of the Settlement

Fund and CDK shall have no other liability for payment of any such fees and expenses and service

awards, and (ii) CDK agrees not to take any position on any application of Dealership Class

Counsel for such fees, expenses and service awards so long as the attorney fee award does not




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exceed one-third of all settlement monies collected on behalf of the dealerships in the Action, plus

interest thereon.

               20.         The CDK Releasees shall not have any liability for any costs, fees, or

expenses of any of Dealership Class Plaintiffs’ or the CDK Settlement Class’s respective attorneys,

experts, advisors, agents, or representatives, but all such costs, fees and expenses as approved by

the Court shall be paid out of the Settlement Fund.

               21.         Payment of a Fee and Expense Award. Upon entry of an order by the

Court approving the request for an award of attorneys’ fees and litigation expenses and class

representative awards (“Fee and Expense Order”), attorneys’ fees and litigation expenses and class

representative awards may be paid from the Settlement Fund pursuant to the terms of the Fee and

Expense Order, subject to Dealership Class Lead Counsel’s obligations to make appropriate

refunds or repayments to the Settlement Fund plus accrued interest at the same net rate as earned

by the Settlement Fund, if, because of any appeal and/or further proceedings on remand, or

successful collateral attack, the Settlement is terminated or the Fee and Expense Order is modified

or reversed.

               22.         Dealership Class Lead Counsel shall receive attorneys’ fees, costs,

expenses, and funds for class representative service awards when such Fee and Expense Order is

signed by the district court, regardless of whether approval of the Settlement or the Fee and

Expense Order is appealed. Dealership Class Lead Counsel shall refund any award under the Fee

and Expense Order to the extent that it is reversed or reduced by an appellate court.

               23.         Dealership Class Lead Counsel shall allocate the attorneys’ fees

amongst counsel that worked on the case in a manner in which they in good faith believe reflects

the contributions of such counsel to the prosecution and settlement of the Action. CDK has no



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liability or obligation to Dealership Class Plaintiffs, the other CDK Settlement Class Members, or

Dealership Class Counsel for any type of attorneys’ fees or service award other than CDK’s

obligation to pay or cause to be paid the Settlement Consideration.

               24.         Nothing contained herein shall affect any application to the Court for

an award of attorneys’ fees, reimbursement of expenses and class representative service awards

from the Reynolds Settlement.

               25.         Award of Fees, Class Representative Service Awards and Expenses

Not Part of Settlement. The procedure for and the allowance or disallowance by the Court of any

fee and expense application are not part of the Settlement, and are separate from the Court’s

consideration of the fairness, reasonableness, and adequacy of the Settlement, and any order or

proceeding relating to any fee and expense application, including without limitation an award of

attorneys’ fees or expenses less than the amount requested by Dealership Class Counsel, or any

appeal from or reversal or modification of any order relating to attorneys’ fees or expenses, shall

not operate to terminate this Agreement, or affect or delay the finality of the Judgment approving

the Settlement, including, but not limited to, the release, discharge, and relinquishment of the

Released Claims against the CDK Releasees, or any other orders entered pursuant to the

Settlement. Neither CDK nor any CDK Releasee shall have any responsibility for, or interest in,

or liability whatsoever with respect to any payment to Dealership Class Counsel of any fee or

expense award in the Action. The Dealership Class Plaintiffs and Dealership Class Counsel have

no right to terminate this Settlement based on the Court’s or any appellate court’s ruling regarding

fees and expenses or class representative awards.

       I.      Opt-Out Termination Right

               26.         CDK’s Opt-Out Termination Right. Simultaneously herewith,

Dealership Class Lead Counsel and CDK’s Counsel are executing a “Supplemental Agreement”
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setting forth certain conditions under which CDK has the option, but not the obligation, to

terminate this Agreement if a certain number of CDK Settlement Class Members exclude

themselves from the CDK Settlement Class. The Supplemental Agreement will not be filed unless

a dispute arises as to its terms. In the event of termination of the Settlement pursuant to the

Supplemental Agreement, this Agreement shall become null and void and of no further force and

effect and the Status Quo Ante Provisions, set forth in Paragraph 31, shall apply.

       J.      Dealership Class Plaintiffs’ Right of Exclusion/Inclusion

               27.          Request for Exclusion. A CDK Settlement Class Member may request

exclusion from the CDK Settlement Class until the Opt-Out Deadline. To request exclusion, the

CDK Settlement Class Member must send a signed letter by U.S. mail to the Settlement

Administrator. The Request for Exclusion must be signed by the Class Member seeking exclusion

under penalty of perjury. So-called “mass” or “class” optouts shall not be allowed. To be valid, a

Request for Exclusion must be postmarked on or before the Opt-Out Deadline. Any CDK

Settlement Class Member who submits by U.S. mail a valid and timely Request for Exclusion shall

not be entitled to relief under, and shall not be affected by, this Agreement or any relief provided

by this Agreement. For a Request for Exclusion to be considered by the Court, it must set forth all

of the following: (i) the specific statement that the person or entity is a member of the CDK

Settlement Class and wants to be excluded from the Settlement with CDK in the Dealership Class

Action, In re Dealer Management Systems Antitrust Litigation, MDL No. 2817, 18-cv-00864

(N.D. Ill.); (ii) the person’s or entity’s full name, address, email address and telephone number;

(iii) all trade names or business names and addresses used by the person or entity; (iv) the number

of and physical addresses in the state or U.S. territory for each of the rooftops requesting exclusion;

(v) the identity of the person’s or entity’s counsel for each rooftop, if represented; (vi) the date(s)

from September 1, 2013 to August 15, 2024 the person or entity entered into a contract for DMS
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services for each rooftop and with whom (i.e., CDK and/or Reynolds) the person or entity entered

into the contract; and (vii) the person’s or entity’s authorized representative’s signature (under

penalty of perjury) and title; and (vii) the date on which the Exclusion Request was signed.

               28.          An Exclusion Request shall not be valid unless it provides the required

information and is made within the time stated above. The Settling Parties shall have the right to

challenge the timeliness and validity of any Request for Exclusion. The Court shall determine

whether any contested Exclusion Request is valid.

               29.          Within ten (10) days after the Opt-Out Deadline, the Settlement

Administrator will provide the Settling Parties with a list of persons or entities who opted out by

validly requesting exclusion along with all documentation supporting the determination. At or

before the fairness hearing, Dealership Lead Class Counsel shall file or cause to be filed with the

Court, under seal, a list of all persons and entities who have timely and validly requested exclusion

from the CDK Settlement Class.

       K.      Settling Parties’ Rescission Rights

               30.          CDK and the Dealership Class Plaintiffs may each elect to terminate

the Settlement and this Agreement (“Rescission Rights”) by providing written notice to the other

party within thirty (30) days after any of the following events: (a) the Court’s declining to enter

the Preliminary Approval Order in any material respect; (b) the Court’s refusal to approve this

Agreement or any material part of it; (c) the Court’s declining to enter the Final Approval Order

and Judgment in any material respect; (d) the date upon which the Final Approval Order and

Judgment is modified or reversed in any material respect by the Court of Appeals or the Supreme

Court; or (e) the date upon which an alternative judgment is modified or reversed in any material

respect by the Court of Appeals or the Supreme Court.



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       L.      Effect of Termination, Rescission, or Failure to Become Final

               31.          Status Quo Ante. Except as otherwise provided in this Agreement, if

the Settlement is terminated, rescinded, or otherwise does not become Final, then the following

provisions (“Status Quo Ante Provisions”) shall be applicable: (i) the Settling Parties shall be

deemed to have reverted to their respective status in the Action as of July 21, 2024, (ii) except as

otherwise provided, the Settling Parties shall proceed as if this Agreement and any related orders

had not been entered, (iii) this Agreement will be inadmissible for any purpose, (iv) the following

amounts shall be returned to CDK within fourteen (14) calendar days of termination or rescission

of this Agreement, or failure of this Agreement to become Final: (a) the Settlement Consideration,

with any interest earned thereon, less any paid or accrued taxes and (b) the Notice and Claims

Costs, less any expenses paid or payable therefrom, (v) CDK reserves the right to seek full recovery

of all Taxes and Tax Expenses paid prior to the termination, rescission, or failure of this Agreement

to become Final, as the case may be, and (vi) Dealership Class Plaintiffs and CDK expressly

reserve all of their respective claims, rights, and defenses.

       M.      No Admission of Wrongdoing

               32.          The Dealership Class Plaintiffs and CDK agree this Agreement,

whether or not it shall become Final, and any negotiations, documents, and discussions associated

with it, shall not be deemed or construed to be an admission or evidence of any violation of any

statute or law or of any liability or wrongdoing by CDK or the Dealership Class Plaintiffs or of the

truth of the claims or allegations in any complaint or any other pleading filed in the MDL, and

evidence thereof shall not be discoverable or used directly or indirectly in the MDL or in any other

action or proceeding. Neither this Agreement, nor any of its terms and provisions, nor the

negotiations or proceedings connected with it, nor any other action taken to carry out this

Agreement by any of the Settling Parties shall be referred to, offered as evidence or received in

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evidence in any pending or future civil, criminal, or administrative action or proceedings, except

in a proceeding to enforce this Agreement, or to defend against the assertion of Released Claims,

or as otherwise required by law.

       N.      Miscellaneous Provisions

               33.          Notwithstanding anything contained herein to the contrary, this

Agreement (a) does not affect, release, or alter any contractual obligation between CDK and any

CDK Settlement Class Member including (i) for CDK, any obligation to provide products or

services to any CDK Settlement Class Member, and (ii) for the CDK Settlement Class Member,

any obligation to pay for those products or services; (b) does not affect or release any claims or

counterclaims asserted as of the Effective Date, in the action entitled Asbury Automotive Group,

Inc. v. CDK Global, LLC, Civ. No. 24-A-04939-3 (Superior Court of Gwinnett County, State of

Georgia); and (c) does not relate in any way to, and does not affect or release claims, defenses, or

counterclaims related to, any data breach, cyberattack, or cybersecurity incident, including but not

limited to any data breach, cyberattack, and/or security incident publicly-reported in June 2024

involving CDK’s DMS.

               34.          For the avoidance of doubt, the Agreement shall not constitute a final

and complete resolution of all disputes asserted or which could be asserted with respect to the

Released Claims, until each of the following conditions has been satisfied: (i) final approval of the

settlement by the Court, and entry of the Final Approval Order and Judgment in the form agreed

to by the parties, with such approval becoming final after the resolution of objections and any

appeal or through the absence of any further right of appeal (if any); and (ii) waiver of the

maximum opt-out number agreed to by the parties—if reached—by CDK.

               35.          Solvency Warranty. CDK warrants that, as to the payments to be made

by and/or on behalf of it, at the time that such payment was made or caused to be made pursuant
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to this Agreement, it was not insolvent, nor did the payment required to be made by or on behalf

of it render it insolvent, within the meaning of and/or for the purposes of the United States

Bankruptcy Code, including §§ 101 and 547 thereof. This warranty is made by CDK and not by

its counsel.

               36.          If a case is commenced with respect to CDK (or any insurer

contributing funds to the Settlement Fund on behalf of it) under Title 11 of the United States Code

(Bankruptcy), or a trustee, receiver, conservator, or other fiduciary is appointed under any similar

law, and in the event of the entry of a final order of a court of competent jurisdiction determining

the transfer of money to the Settlement Fund or any portion thereof by or on behalf of CDK to be

a preference, voidable transfer, fraudulent transfer or similar transaction and any portion thereof

is required to be returned, and such amount is not promptly deposited to the Settlement Fund by

others, then, at the election of Dealership Class Lead Counsel, the Settling Parties shall jointly

move the Court to vacate and set aside the releases given and Judgment entered in favor of CDK

pursuant to this Agreement, which releases and Judgment shall be null and void, and the Settling

Parties shall be restored to their respective positions in the Action as of July 21, 2024 and any cash

amounts in the Settlement Fund shall be returned as provided by this Agreement.

               37.          Incorporation of Notice and Orders. The Notice to CDK Class

Members, Order for Preliminary Approval, and Final Order and Judgment are incorporated by

reference as though set forth in this Agreement.

               38.          Final and Complete Resolution; Rule 11 Compliance; Voluntary

Settlement. The Settling Parties intend the Settlement to be a final and complete resolution of all

disputes asserted or which could be asserted with respect to the Released Claims. Accordingly, the

Dealership Class Plaintiffs and CDK agree not to assert in any forum that the litigation was



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brought, litigated, or settled by the Dealership Class Plaintiffs or CDK, or defended by CDK or

the Dealership Class Plaintiffs in bad faith or without a reasonable basis. The Settling Parties will

assert no claims of any violation of Rule 11 of the Federal Rules of Civil Procedure, 28 U.S.C. §

1927, or any similar rules or statutes relating to the prosecution, defense, or settlement of the

Action. Each of the Settling Parties represents that it negotiated this Settlement Agreement in good

faith and at arm’s length, and the Settling Parties agree that the Settlement was reached voluntarily

and after consultation with experienced legal counsel.

               39.          Amendment; Waiver. This Agreement may not be modified or

amended, except by a writing signed by or on behalf of all Settling Parties or their successors-in-

interest. The provisions of this Agreement may be waived only by an instrument in writing

executed by the waiving party. The waiver by any Settling Parties of any breach of this Agreement

shall not be deemed to be or construed as a waiver of any other breach, whether prior, subsequent,

or contemporaneous, of this Agreement.

               40.          Retention of Exclusive Jurisdiction; Resolution of Disputes; Choice of

Law. The United States District Court for the Northern District of Illinois shall retain exclusive

jurisdiction over the implementation, enforcement, and performance of this Agreement, and shall

have exclusive jurisdiction over any suit, action, proceeding, or dispute between the Settling

Parties arising out of or relating to this Agreement or the applicability of this Agreement that

cannot be resolved by negotiation and agreement by the Dealership Class Plaintiffs and CDK. This

Agreement shall be governed by and interpreted according to the substantive laws of the State of

Illinois without regard to its choice of law or conflict of laws principles.

               41.          Integrated Agreement. This Agreement supersedes any and all prior

and contemporaneous agreements and undertakings of the Dealership Class Plaintiffs and CDK in



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connection with this Settlement. This Agreement may be modified or amended only by a writing

executed by the Dealership Class Plaintiffs and CDK, through their respective counsel, and

approved by the Court.

               42.          Binding Effect. This Agreement shall be binding upon, and inure to the

benefit of, the successors and assigns of the Dealership Class Plaintiffs and CDK. Without limiting

the generality of the foregoing: (a) every covenant and agreement made in this Agreement by the

Dealership Class Plaintiffs shall be binding upon all CDK Settlement Class Releasors; and (b)

every covenant and agreement made by CDK shall be binding upon all CDK Releasors. The

Dealership Class Releasees and the CDK Releasees (other than the Dealership Class Plaintiffs and

CDK, who are parties to this Agreement) are third party beneficiaries of this Agreement and may

enforce its terms applicable to them. With the exception of the Dealership Class Releasees and the

CDK Releasees, there are no other third-party beneficiaries of any provision of this Agreement,

including without limitation the Releases set forth herein. Nothing expressed or implied in this

Agreement is intended to or shall be construed to confer upon or give any person or entity other

than the CDK Settlement Class Releasors, Dealership Releasees, CDK Releasors, and CDK

Releasees any right or remedy under or from this Agreement. For clarity, Reynolds is not a third-

party beneficiary of this Agreement, and nothing contained herein shall affect or release any claim

against Reynolds, or alter any contractual obligation between Reynolds and any other person.

               43.          Execution in Counterparts. This Agreement may be executed in

counterparts by Dealership Class Lead Counsel and CDK’s Counsel, and an electronically-scanned

(in either .pdf or .tiff format) signature will be considered as an original signature for purposes of

execution of this Agreement.




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                44.         Headings. The headings in this Agreement are included for

convenience only and shall not be deemed to constitute part of this Agreement or to affect its

construction.

                45.         No Party Deemed to be the Drafter. Neither the Dealership Class

Plaintiffs nor CDK are considered the drafter of this Agreement or any of its provisions for the

purpose of any statute, case law, or rule of interpretation or construction that would or might cause

any provision to be construed against the drafter of this Agreement.

                46.         No Tax Advice. No opinion or advice concerning the tax consequences

of the proposed Settlement to individual Dealership Class Members is being given or will be given

by Dealership Class Counsel or CDK’s Counsel; nor is any representation or warranty made by

this Agreement. Each Dealership Class Member’s tax obligations, and the determination thereof,

are the sole responsibility of the Dealership Class Member, and it is understood that the tax

consequences may vary depending on the particular circumstances of each individual Dealership

Class Member.

                47.         Changes of Address. Either Settling Party may change the address for

notice delivery by giving notice in the manner set forth in this Agreement.

                48.         Authorization to Enter into this Agreement. Each of the undersigned

attorneys represents that he or she is fully authorized to enter into the terms and conditions of, and

to execute, this Agreement, subject to Court approval.

                49.         Notice to Settling Parties Under This Agreement. Where this

Agreement requires either Settling Party to provide notice or any other communication or

document to the other Settling Party, this notice, communication, or document must be in writing

and provided by email or letter by overnight delivery to the party being notified as follows:



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 For the Dealership Class Plaintiffs and          For Settling Defendant CDK:
 Dealership Settlement Class:

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 Elizabeth McKenna                                Matthew J. Reilly, P.C.
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 DATED: August 15, 2024

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 DATED: August 15, 2024

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